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                                        14   TERRAFORM LABS, PTE. LTD. and
                                             DO KWON
                                        15
                                                                              UNITED STATES DISTRICT COURT
                                        16
                                                       NORTHERN DISTRICT OF CALIFORNIA - SAN FRANCISCO DIVISION
                                        17
                                             NICK PATTERSON, Individually and on Behalf       Case No. 3:22-cv-03600
                                        18   of All Others Similarly Situated,
                                                                                              DECLARATION OF ARRASH CHRIS
                                        19                      Plaintiffs,                   AMANI IN SUPPORT OF MOTION BY
                                                                                              TERRAFORM LABS, PTE. LTD. AND
                                        20            v.                                      DO KWON TO (I) DISMISS FOR LACK
                                                                                              OF PERSONAL JURISDICTION
                                        21   TERRAFORM LABS, PTE. LTD., JUMP                  PURSUANT TO FED. R. CIV. P.
                                             CRYPTO, JUMP TRADING LLC, REPUBLIC               12(B)(2), (II) COMPEL ARBITRATION
                                        22   CAPITAL, REPUBLIC MAXIMAL LLC,                   PURSUANT TO THE FEDERAL
                                             TRIBE CAPITAL, DEFINANCE                         ARBITRATION ACT AND STRIKE
                                        23   CAPITAL/DEFINANCE TECHNOLOGIES OY,               THE CLASS ALLEGATIONS, AND (III)
                                             GSR/GSR MARKETS LIMITED, THREE                   DISMISS ANY REMAINING CLAIMS
                                        24   ARROWS CAPITAL PTE. LTD., NICHOLAS               PURSUANT TO FED. R. CIV. P. 12(B)(6)
                                             PLATIAS, AND DO KWON,
                                        25                                                    Date:    September 19, 2023
                                                                Defendants.                   Time:    2:00 p.m.
                                        26                                                    Dept.:   Courtroom 9, 19th Floor
                                                                                              Judge:   Hon. Trina L. Thompson
                                        27
                                                                                              Action Filed: July 17, 2022
                                        28                                                    Trial Date: None Set
                                              CASE NO. 3:22-CV-03600                            DECLARATION OF ARRASH CHRIS AMANI

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                                         1   Arrash Chris Amani declares, pursuant to 28 U.S.C. § 1746:
                                         2             1.   I am the Chief Operating Officer and Chief Financial Officer of Terraform Labs,
                                         3   Pte. Ltd. and make this declaration to put before the Court certain facts regarding the operation of
                                         4   the Anchor Protocol, specifically how users bind themselves to the Anchor Terms of Service
                                         5   (“Anchor TOS”), attached hereto as Exhibit A, when connecting to the Anchor Protocol for the
                                         6   first time. I am personally familiar with the process that prospective Anchor Protocol users use to
                                         7   connect their digital wallets to the Anchor Protocol.
                                         8             2.   When a user wanted to connect to the Anchor Protocol, he or she did so through
                                         9   the Anchor Protocol Interface (the “Interface”). To use the Interface, a prospective user must
                                        10   connect a digital wallet to the Interface. At all relevant times, each prospective Anchor user was
                                        11   presented with a link to the Anchor TOS that they had to accept in order to connect their digital
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 LOS ANGELES, CALIFORNIA 90017-5704




                                        12   wallet to the Interface. The Anchor TOS have been in place since the Anchor Protocol launched
                                        13   and have not, with respect to the issues discussed herein, changed during that time.
          DENTONS US LLP


             213 623 9300




                                        14             3.   More specifically, potential users, including Lead Plaintiff, had to accept the
                                        15   Anchor TOS by clicking a button immediately above an acknowledgement stating that “By
                                        16   connecting, I accept Anchor’s Terms of Service” on the wallet connection dialog box presented
                                        17   online:
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                                             Case 5:22-cv-03600-PCP Document 122-1 Filed 05/08/23 Page 3 of 13



                                         1          4.      Before accepting the Anchor TOS, each potential user had the opportunity to

                                         2   review the Anchor TOS via the green hyperlink shown above, which was contained within the

                                         3   acceptance dialog box itself. The link to the Anchor TOS and fact of agreement by connect to

                                         4   and using Anchor was made clear through the font and icons used, and its placement directly

                                         5   within the connection dialog box. The connection process explained that the user was going to

                                         6   “Connect Wallet” through clear text at the top. It then informed the user that “By connecting, I

                                         7   accept Anchor’s Terms of Service” underneath the button that a user would click to connect the

                                         8   account. The phrase “Terms of Service” was set apart from the other text by a bright green font,

                                         9   indicating a hyperlink that, when clicked, directs users to the complete Anchor TOS.

                                        10          5.      The Anchor TOS contained a mandatory agreement to arbitrate all disputes with

                                        11   TFL. The third paragraph of the Anchor TOS advised users in underlined text to “Please read this
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 LOS ANGELES, CALIFORNIA 90017-5704




                                        12   Agreement carefully,” and explained in the same paragraph that “[t]his Agreement contains a

                                        13   mandatory individual arbitration and class action jury trial waiver provision … .” See Ex. A at 1.
          DENTONS US LLP


             213 623 9300




                                        14          6.      The Anchor TOS also included a clear Class Action and Jury Trial Waiver,

                                        15   pursuant to which users waived their right to participate in a class action lawsuit against TFL and

                                        16   waive the right to trial by jury. That waiver was initially referenced on the first page of the

                                        17   Anchor TOS and introduced by the boldface heading “Class Action and Jury Trial Waiver.” See

                                        18   Ex. A at 1.

                                        19          I declare under penalty of perjury under the laws of the United States of America that the

                                        20   foregoing is true and correct.

                                        21          Executed this 2nd day of May 2023 at Marrakech, Morocco.

                                        22

                                        23
                                                                                                         Arrash Chris Amani
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           EXHIBIT A
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                                                                                                Terra




Terms of Service
Updated: 10/12/21


Welcome to https://anchorprotocol.com/, a website (“Site”) that provides access to
https://app.anchorprotocol.com/, a website-hosted user interface (the “App”) (collectively referred to as
the “Interface”) provided by Terraform Labs PTE, Ltd. (“Terra”, “we”, “our”, or “us”). The Interface provides
access to a decentralized protocol on the Terra blockchain that allows suppliers and borrowers of certain
digital assets to participate in autonomous interest rate markets (the “Protocol”).


THE INTERFACE IS A WEB APPLICATION WHICH MERELY PROVIDES A NON-EXCLUSIVE, PARTIAL USER
INTERFACE TO THE PROTOCOL. THE OWNER/OPERATOR OF THE INTERFACE DOES NOT HAVE
CUSTODY OVER YOUR ASSETS OR ACCESS TO YOUR PRIVATE KEY AND CANNOT INITIATE A TRANSFER
OF DIGITAL ASSETS OR OTHERWISE ACCESS YOUR DIGITAL ASSETS. THE INTERFACE IS NOT A BROKER
OR INTERMEDIARY AND IS IN NO WAY YOUR AGENT, ADVISOR, OR CUSTODIAN, AND WE DO NOT HAVE
A FIDUCIARY RELATIONSHIP OR OBLIGATION TO YOU REGARDING ANY OTHER DECISIONS OR
ACTIVITIES THAT YOU EFFECT WHEN USING YOUR WALLET OR OUR SERVICES. WE ARE NOT
RESPONSIBLE FOR ANY ACTIVITIES THAT YOU ENGAGE IN WHEN USING YOUR WALLET, AND YOU
SHOULD UNDERSTAND THE RISKS ASSOCIATED WITH PARTICIPATING IN DECENTRALIZED PROTOCOLS
ON THE TERRA BLOCKCHAIN. UNLESS EXPLICITLY PROVIDED IN WRITING, WE DO NOT HOST OR
MAINTAIN ECOSYSTEM PARTNERS ACCESSIBLE ON OUR SERVICES AND DO NOT PARTICIPATE IN ANY
TRANSACTIONS ON SUCH ECOSYSTEM PARTNERS, RECOMMEND, ENDORSE, OR OTHERWISE TAKE A
POSITION ON YOUR USE OF THESE SERVICES.


This Terms of Service Agreement (the “Terms” or “Agreement”) explains the terms and conditions by which
you may access and use the Interface. Please read this Agreement carefully. This Agreement applies to you
(“You”) as a user of the Interface, including all the products, services, tools, and information made available
on app.anchorprotocol.com or on anchorprotocol.com. This Agreement contains a mandatory individual
arbitration and class action/jury trial waiver provision that requires the use of arbitration on an individual
basis to resolve disputes, rather than jury trials or class actions.


To use the Interface, you must be able to form a legally binding contract online either as an individual or on
behalf of a legal entity. To that end, you represent that, if you are agreeing to this Agreement on behalf of
a legal entity, you have the legal authority to bind the company or other legal entity to this Agreement and
you are at least 18 years old or the age of majority where you reside, whichever is older, can form a legally
binding contract online, and have the full, right, power, and authority to enter into and to comply with the
obligations under this Agreement.


You are advised to check this Agreement periodically to familiarize yourself with any changes to the terms.
We, in our sole discretion, reserve the right to make changes to our terms of services. Changes are binding
on users of the Interface and will take effect immediately upon posting. As a user, you agree to be bound
by any changes, variations, or modifications to our terms of service and your continued use of the Interface
shall constitute acceptance of any such changes, variations, or modifications.
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By accessing or using the Interface, you signify that you have read, understand, and agree to be bound by
this Agreement in its entirety. If you do not agree, you are not authorized to access or use the Interface.




1. Interface

The Interface provides access to a decentralized protocol on the Terra blockchain that allows suppliers and
borrowers of digital assets to interact with the Protocol and transact using smart contracts (“Smart
Contracts”).


Using the Protocol may require that you pay a fee on the Terra network to perform a transaction. You
acknowledge and agree that Terra has no control over any transactions, the method of payment of any
transactions, or any actual payments of transactions. You must ensure that you have a sufficient balance to
complete any transaction on the Protocol before initiating such transaction.


You acknowledge and agree that Terra has no control over any transactions over the Protocol, the method
of payment of any transactions or any actual payments of transactions. Accordingly, you must ensure that
you have a sufficient balance of the applicable cryptocurrency tokens stored at your Anchor Protocol-
compatible wallet address (“Cryptocurrency Wallet”) to complete any transaction on the Protocol or the
Terra network before initiating such transaction.


When used on this Interface, the terms “debt,” “lend,” “borrow,” “collateral”, “credit,” “leverage,” “bank”,
“borrow”, “yield”, “invest” and other similar terms are not meant to be interpreted literally. Rather, such
terms are being used to draw rough, fuzzy-logic analogies between the heavily automated and mostly
deterministic operations of a decentralized-finance smart contract system and the discretionary
performance of traditional-finance transactions by people. When the Interface is used by users to access the
Protocol and transact using Smart Contracts, there are no legal agreements, promises of payment, or courts
of law, and therefore there are no debts, loans, or other traditional finance transactions involved.




2. Access

Access to the Interface is provided “as is” and on an “as available” basis only. We do not guarantee that the
Interface, or any content on it, will always be available or uninterrupted. From time to time, access may be
interrupted, suspended, or restricted, including because of a fault, error, unforeseen circumstances, or
because we are carrying out planned maintenance.


We reserve the right to limit the availability of the Interface to any person, geographic area, or jurisdiction
we so desire and/or to terminate your access to and use of the site, at any time and in our sole discretion.


We may remove or amend the content of the Interface at any time. However, some of the content may be
out of date at any given time and we are under no obligation to update it. We do not guarantee that the
Interface, or any content on it, will be free from errors or omissions.


We will not be liable to you for any loss or damage you may suffer as a result of the Interface being
unavailable at any time for any reason.
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3. Eligibility

To access or use the Interface, you must be able to form a legally binding contract with us. Accordingly,
you represent that you are at least eighteen years old and have the full right, power, and authority to enter
into and comply with the terms and conditions of this Agreement on behalf of yourself and any company or
legal entity for which you may access or use the Interface. You further represent that you are not a citizen,
resident, or member of any jurisdiction or group that is subject to economic sanctions, or where your use of
the Interface would be illegal or otherwise violate any applicable law. You further represent that your access
and use of the Interface will fully comply with all applicable laws and regulations, and that you will not
access or use the Interface to conduct, promote, or otherwise facilitate any illegal activity.




4. Modification of this Agreement

We reserve the right, in our sole discretion, to modify this Agreement from time to time. If we make any
modifications, we will notify you by updating the date at the top of the Agreement and by maintaining a
current version of the Agreement at app.anchorprotocol.com/terms. All modifications will be effective when
they are posted, and your continued use of the Interface will serve as confirmation of your acceptance of
those modifications. If you do not agree with any modifications to this Agreement, you must immediately
stop accessing and using the Interface.




5. Proprietary Rights

The HTML and other software code and text used in the Site is available at GITHUB and is freely licensed
under Apache License v2.




6. Marks, Logos and Branding

All Anchor-related marks, logos, and branding used on the Site are non-proprietary and freely licensed
under the Creative Commons Attribution-ShareAlike 4.0 International Public License. All other marks, logos
and branding appearing on the Site (including token names, symbols and logos that may be identified on
the Site) are the property of their respective owners.




7. Anchor Smart Contract Protocol

The Anchor Smart Contract Protocol is comprised entirely of open-source software running on the public
Terra blockchain and is not our proprietary property. The Anchor Smart Contract Protocol is available at
GITHUB and is freely licensed under Apache License v2.




8. Privacy

Your privacy is important to us. Although we do not collect your data, we cannot guarantee that
unauthorized third parties will never be able to obtain or use your data or aggregate data for improper
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purposes. By accessing and using the Interface, you acknowledge that we are not responsible for any of
these variables or risks, do not own or control the Protocol, and cannot be held liable for any improperly
accessed data, whether resulting in losses that you experience while accessing or using the Interface or
otherwise.




9. Prohibited Activity

You agree not to engage in, or attempt to engage in, any of the following categories of prohibited activity
in relation to your access and use of the Interface:


   Intellectual Property Infringement. Activity that infringes on or violates any copyright, trademark, service
   mark, patent, right of publicity, right of privacy, or other proprietary or intellectual property rights under
   the law.

   Cyberattack. Activity that seeks to interfere with or compromise the integrity, security, or proper
   functioning of any computer, server, network, personal device, or other information technology system,
   including (but not limited to) the deployment of viruses and denial of service attacks.

   Fraud and Misrepresentation. Activity that seeks to defraud us or any other person or entity, including
   (but not limited to) providing any false, inaccurate, or misleading information in order to unlawfully
   obtain the property of another.

   Market Manipulation. Activity that violates any applicable law, rule, or regulation concerning the integrity
   of trading markets, including (but not limited to) the manipulative tactics commonly known as spoofing
   and wash trading.

   Other Harmful Acts. Attempts to engage in or engage in, any potentially harmful acts that are directed
   against Terraform Labs, including but not limited to violating or attempting to violate any security
   features of Terraform Labs, using manual or automated software or other means to access, “scrape,”
   “crawl” or “spider” any pages contained in or on the Interface, introducing viruses, worms, or similar
   harmful code into the Interface, or interfering or attempting to interfere with use of the Interface by any
   other user, host or network, including by means of overloading, “flooding,” “spamming,” “mail bombing,”
   or “crashing” the Interface or any other Terraform Lab properties.

   Any Other Unlawful Conduct. Activity that violates any applicable Law, including, without limitation, any
   relevant and applicable anti-money laundering and anti-terrorist financing laws and any relevant and
   applicable privacy and data collection laws, in each case as may be amended.




10. No Professional Advice

All information provided by the Interface is for informational purposes only and should not be construed as
professional advice. In particular, the content and materials available on the Interface does not constitute
any form of advice or recommendation by us, should not be regarded as an offer, solicitation, invitation or
recommendation to buy or sell investments, securities or any other financial services and is not intended to
be relied upon by you in making any specific investment or other decisions. You should not take, or refrain
from taking, any action based on any information contained in the Interface. Before you make any financial,
legal, or other decisions involving the Interface, you should seek independent professional advice from an
individual who is licensed and qualified in the area for which such advice would be appropriate.
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Nothing included in the Interface constitutes an offer or solicitation to sell, or distribution of, investments
and related services to anyone in any jurisdiction.


From time to time, reference may be made to data we have gathered. These references may be selective or,
may be partial. As markets change continuously, previously published information and data may not be
current and should not be relied upon.


Any reference to any Rate on the Interface is denominated in terms of UST or other digital assets or tokens,
as applicable, not USD or other fiat currency. The Rate is a forward-looking projection based on a good
faith belief of how to reasonably project results over the relevant period, but such belief is subject to
numerous assumptions, risks and uncertainties (including smart contract security risks and third-party
actions) which could result in a materially different (lower or higher) token-denominated Rate.


The Rate is not a promise, guarantee, or undertaking on the part of any person or group of persons, but
depends entirely on the results of operation of smart contracts and other autonomous systems (including
third-party systems) and how third parties interact with those systems after the time of your deposit.


Even if the Rate is achieved as projected, you may still suffer a financial loss in fiat-denominated terms if
the fiat-denominated value of the relevant tokens (your deposit and any tokens allocated or distributed to
you pursuant to the Rate) declines during the deposit period.




11. Third-Party Links

The Interface may contain hyperlinks or references to third party websites. Any such hyperlinks or
references are provided for your information and convenience only. We have no control over third party
websites and accept no legal responsibility for any content, material or information contained in them. The
display of any hyperlink and reference to any third-party website does not mean that we endorse that third
party's website, products or services. Your use of a third-party site may be governed by the terms and
conditions of that third-party site.




12. No Warranties

The Interface is provided on an “AS IS” and “AS AVAILABLE” basis. To the fullest extent permitted by law,
we disclaim any representations and warranties of any kind, whether express, implied, or statutory, including
(but not limited to) the warranties of merchantability and fitness for a particular purpose. You acknowledge
and agree that your use of the Interface is at your own risk. We do not represent or warrant that access to
the Interface will be continuous, uninterrupted, timely, or secure; that the information contained in the
Interface will be accurate, reliable, complete, or current; or that the Interface will be free from errors,
defects, viruses, or other harmful elements. No advice, information, or statement that we make should be
treated as creating any warranty concerning the Interface. We do not endorse, guarantee, or assume
responsibility for any advertisements, offers, or statements made by third parties concerning the Interface.




13. No Fiduciary Duties

This Agreement is not intended to, and does not, create or impose any fiduciary duties on us. To the fullest
extent permitted by law, you acknowledge and agree that we owe no fiduciary duties or liabilities to you or
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any other party, and that to the extent any such duties or liabilities may exist at law or in equity, those
duties and liabilities are hereby irrevocably disclaimed, waived, and eliminated. You further agree that the
only duties and obligations that we owe you are those set out expressly in this Agreement.




14. Assumption of Risk

By accessing and using the Interface, you represent that you understand the inherent risks associated with
using cryptographic and blockchain-based systems, and that you have a working knowledge of the usage
and intricacies of digital assets. You further understand that the markets for these digital assets are highly
volatile due to factors including (but not limited to) adoption, speculation, technology, security, and
regulation. You acknowledge that the cost and speed of transacting with cryptographic and blockchain-
based systems are variable and may increase dramatically at any time. You further acknowledge the risk
that your digital assets may lose some or all of their value while they are supplied to the Protocol. If you
borrow digital assets from the Protocol, you will have to supply digital assets of your own as collateral. If
your collateral declines in value such that it is no longer sufficient to secure the amount that you borrowed,
others may interact with the Protocol to seize your collateral in a liquidation event. You further acknowledge
that we are not responsible for any of these variables or risks, do not own or control the Protocol, and
cannot be held liable for any resulting losses that you experience while accessing or using the Interface.


We make no warranties as to the markets on which digital assets are transferred, purchased, or traded. You
are solely responsible for determining what, if any, taxes apply to your digital asset transactions. We are not
responsible for determining the taxes that apply to your transactions.


We do not store, send, or receive digital assets or funds. This is because digital assets exist only by virtue
of the ownership record maintained on its supporting blockchain. Any transfer of digital assets occurs
within the decentralized Protocol and Terra blockchain and not in the Interface. We cannot assist you to
cancel or otherwise modify any transaction or transaction details. There are no warranties or guarantees
that a transfer initiated via the Interface will successfully transfer title or right in any digital asset.


Accordingly, you understand and agree to assume full responsibility for all of the risks of accessing and
using the Interface and interacting with the Protocol.




15. Release of Claims

You expressly agree that you assume all risks in connection with your access and use of the Interface and
your interaction with the Protocol. You further expressly waive and release us from any and all liability,
claims, causes of action, or damages arising from or in any way relating to your use of the Interface and
your interaction with the Protocol. If you are a California resident, you waive the benefits and protections of
California Civil Code § 1542, which provides: “[a] general release does not extend to claims that the creditor
or releasing party does not know or suspect to exist in his or her favor at the time of executing the release
and that, if known by him or her, would have materially affected his or her settlement with the debtor or
released party.”




16. Indemnity
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You agree to hold harmless, release, defend, and indemnify us and our officers, directors, employees,
contractors, agents, affiliates, and subsidiaries from and against all claims, damages, obligations, losses,
liabilities, costs, and expenses arising from: (a) your access and use of the Interface; (b) your violation of
any term or condition of this Agreement, the right of any third party, or any other applicable law, rule, or
regulation; and (c) any other party’s access and use of the Interface with your assistance or using any
device or account that you own or control.




17. Limitation of Liability

Under no circumstances shall we or any of our officers, directors, employees, contractors, agents, affiliates,
or subsidiaries be liable to you for any indirect, punitive, incidental, special, consequential, or exemplary
damages, including (but not limited to) damages for loss of profits, goodwill, use, data, or other intangible
property, arising out of or relating to any access or use of the Interface, nor will we be responsible for any
damage, loss, or injury resulting from hacking, tampering, or other unauthorized access or use of the
Interface or the information contained within it. We assume no liability or responsibility for any: (a) errors,
mistakes, or inaccuracies of content; (b) personal injury or property damage, of any nature whatsoever,
resulting from any access or use of the Interface; (c) unauthorized access or use of any secure server or
database in our control, or the use of any information or data stored therein; (d) interruption or cessation of
function related to the Interface; (e) bugs, viruses, trojan horses, or the like that may be transmitted to or
through the Interface; (f) errors or omissions in, or loss or damage incurred as a result of the use of, any
content made available through the Interface; and (g) the defamatory, offensive, or illegal conduct of any
third party. Under no circumstances shall we or any of our officers, directors, employees, contractors,
agents, affiliates, or subsidiaries be liable to you for any claims, proceedings, liabilities, obligations,
damages, losses, or costs in an amount exceeding the amount you paid to us in exchange for access to and
use of the Interface, or $100.00, whichever is greater. This limitation of liability applies regardless of whether
the alleged liability is based on contract, tort, negligence, strict liability, or any other basis, and even if we
have been advised of the possibility of such liability. Some jurisdictions do not allow the exclusion of certain
warranties or the limitation or exclusion of certain liabilities and damages. Accordingly, some of the
disclaimers and limitations set forth in this Agreement may not apply to you. This limitation of liability shall
apply to the fullest extent permitted by law.




18. Dispute Resolution

We will use our best efforts to resolve any potential disputes through informal, good faith negotiations. If a
potential dispute arises, you must contact us by sending an email to legal@anchorprotocol.com so that we
can attempt to resolve it without resorting to formal dispute resolution. If we aren’t able to reach an
informal resolution within sixty days of your email, then you and we both agree to resolve the potential
dispute according to the process set forth below.


Any claim or controversy arising out of or relating to the Interface, this Agreement, including any question
regarding this Agreement’s existence, validity or termination, or any other acts or omissions for which you
may contend that we are liable, including (but not limited to) any claim or controversy as to arbitrability
(“Dispute”), shall be referred to and finally resolved by arbitration in Singapore in accordance with the
Arbitration Rules of the Singapore International Arbitration Centre ("SIAC Rules")


You understand that you are required to resolve all Disputes by binding arbitration. The arbitration shall be
held on a confidential basis before one or three arbitrators, who shall be selected pursuant to SIAC Rules.
The seat of the arbitration shall be determined by the arbitrator(s); the arbitral proceedings shall be
conducted in English. The applicable law shall be Singapore law.
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Unless we agree otherwise, the arbitrator may not consolidate your claims with those of any other party.
Any judgment on the award rendered by the arbitrator may be entered in any court of competent
jurisdiction.




19. Class Action and Jury Trial Waiver

You must bring any and all Disputes against us in your individual capacity and not as a plaintiff in or
member of any purported class action, collective action, private attorney general action, or other
representative proceeding. This provision applies to class arbitration. You and we both agree to waive the
right to demand a trial by jury.




20. Governing Law

You agree that the laws of Singapore, without regard to principles of conflict of laws, govern this
Agreement and any Dispute between you and us. You further agree that the Interface shall be deemed to
be based solely in Singapore, and that although the Interface may be available in other jurisdictions, its
availability does not give rise to general or specific personal jurisdiction in any forum outside of Singapore.




21. Miscellaneous

We may perform any of our obligations, and exercise any of the rights granted to us under this Agreement,
through a third-party. We may assign any or all our rights and obligations under this Agreement to any
third-party.


If any clause or part of any clause of this Agreement is found to be void, unenforceable or invalid, then it
will be severed from this Agreement, leaving the remainder in full force and effect, provided that the
severance has not altered the basic nature of this Agreement.


No single or partial exercise, or failure or delay in exercising any right, power or remedy by us shall
constitute a waiver by us of, or impair or preclude any further exercise of, that or any right, power or
remedy arising under these terms and conditions or otherwise.


If any of the provisions in this Agreement is found to be illegal, invalid or unenforceable by any court of
competent jurisdiction, the remainder shall continue in full force and effect.


All disclaimers, indemnities and exclusions in this Agreement shall survive termination of the Agreement and
shall continue to apply during any suspension or any period during which the Interface is not available for
you to use for any reason whatsoever.




22. About Us

Terraform Labs PTE, LTD is a company incorporated in Singapore, with a registered office and principal
place of business at 80 Raffles Place #32-01, Singapore 048624.
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23. Contacting Us

As stated in Section 14, Assumption of Risk, we do not have custody of or access to users' digital assets or
funds. As a result, please be very careful when using the protocol, as there is no way for us to assist you
with canceling or otherwise modifying any transaction or transaction details. If you are having an issue or
have a technical question regarding the protocol, you can seek the assistance of community contributors by
opening a support ticket and describing your issue on the discord channel linked here
https://discord.gg/7PYqcmnm.




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